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     EXHIBIT K
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                                  UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES – GENERAL

    Case No. 5:13-cv-0444-VAP-OPx                                 Date April 14, 2020
    Title Quinton Gray v. County of Riverside



    Present: The Honorable        VIRGINIA A. PHILLIPS, CHIEF UNITED STATES DISTRICT JUDGE


                  CHRISTINE CHUNG                                     Not Reported
                   Deputy Clerk                                      Court Reporter


      Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
                   None Present                                      None Present


    Proceedings:       (IN CHAMBERS) MINUTE ORDER GRANTING “EMERGENCY MOTION TO
                       ENFORCE CONSENT DECREE” [DKT. 177]


          On April 6, 2020, Plaintiff Quinton Gray (“Plaintiff”) filed a document captioned
   “Emergency Motion1 to Enforce Consent Decree.” (“Motion,” Dkt. 177). Pursuant to this
   Court’s April 8, 2020 Minute Order, (Dkt. 182), Defendant County of Riverside
   (“Defendant”) opposed the Motion on April 10, 2020 (“Opp.,” Dkt. 183). After
   considering all papers submitted in support of, and in opposition to, the Motion, as well
   as the arguments advanced during the telephonic hearing on April 13, 2020, the Court
   GRANTS the Motion.

           In 2016, the Parties entered into a Consent Decree “to ensure the provision of
   constitutional health care and to ensure non-discrimination for inmates with disabilities
   in the Riverside County Jails.” (Dkt. 173 ¶ 1). The plaintiff class includes three distinct
   subclasses: the medical subclass, which comprises “[a]ll prisoners who are now, or will
   in the future be, subjected to the medical care policies and practices of the Riverside


      1
        The Court notes that an “Emergency Motion” is procedurally improper. Plaintiff
      should have filed an ex parte application to shorten time for hearing on a motion,
      in conformance with Local Rule 7-19. In the interests of justice, the Court will
      treat Plaintiff’s Motion as though it had been filed properly.

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   Jails”; the mental health subclass, which comprises “[a]ll prisoners who are now, or will
   in the future be, subjected to the mental health care policies and practices of the
   Riverside Jails”; and the disability subclass, which comprises “all prisoners who are
   now, or will be in the future, subjected to policies and practices of the Riverside jails
   regarding specialized or sheltered housing for prisoners due to their mobility
   impairments and need for assistive devices, and the provision and confiscation of
   accommodations for prisoners with mobility impairments[.]” (Dkt. 173 ¶ 3).

          The Parties to the Consent Decree negotiated a Remedial Plan, which “is
   designed to meet the minimum level of health care necessary to fulfill Defendant’s
   obligations under the Eighth and Fourteenth Amendments, as well as to ensure non-
   discrimination against inmates with disabilities in the areas addressed by the Plan, as
   required by the ADA and Section 504 of the Rehabilitation Act.” (Dkt. 173 ¶ 9). In light
   of the coronavirus (“COVID-19”) pandemic2, “Plaintiffs seek to enforce the Consent
   Decree by requiring the County to submit a plan to the Court to implement the
   Governor’s order for physical distancing for all Californians housed in the jails and to
   provide sanitation and other essential services generally accepted as necessary in
   correctional facilities to provide for the basic health needs of incarcerated people.”
   (Motion at 3-4).

           As Defendant argues, the Consent Decree specifies a dispute resolution process
   which provides that the Parties first conduct negotiations to resolve informally matters in
   dispute, then, if they are unable to resolve the dispute, to request that the Relevant
   Court experts evaluate the issue and prepare a report. Following preparation of this
   report, if the parties still are unable to resolve the issue, they may request mediation
   with Judge Raul Ramirez. Only after having mediated are the parties to file a motion for
   relief with this Court. (Dkt. 173 ¶¶ 26–29). Here, the parties have conducted the first
   two steps, but have not yet mediated. Nevertheless, “[g]iven the urgent nature of the
   proceedings, Plaintiffs request the Court modify the Consent Decree to allow for urgent
   appeal for enforcement directly to the Court.” (Motion at 17 n.2).



      2
        The pandemic has caused unprecedented disruption to daily life. On March 13,
      2020, the President of the United States declared a National Emergency in re-
      sponse to the Coronavirus Disease- 2019 (“COVID-19”) pandemic pursuant to
      the National Emergencies Act (50 U.S.C. § 1601, et seq.). California Governor
      Gavin Newson has declared a state of emergency in response to the COVID-19
      outbreak and, in his March 19, 2020 Executive Order N-33-20, “require[d] physi-
      cal distancing to keep Californians at least six feet apart at all times and to pre-
      pare hospitals and health care workers for the coming surge in cases.” (Motion
      at 2).

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           The Court finds good cause to modify the Consent Decree to permit appeal to
   this Court. “[A] party seeking modification of a consent decree bears the burden of
   establishing that a significant change in circumstances warrants revision of the decree. .
   . . A party seeking modification of a consent decree may meet its initial burden by
   showing either a significant change either in factual conditions or in law.”” Rufo v.
   Inmates of Suffolk Cty. Jail, 502 U.S. 367, 383–84 (1992). The party seeking
   modification need not prove the change in circumstance was “unforeseen and
   unforeseeable” at the time of entering into the consent decree, but “[o]rdinarily, . . .
   modification should not be granted where a party relies upon events that actually were
   anticipated at the time it entered into a decree.” Id. at 385 (emphasis added). Here,
   clearly, the emergency resulting from the pandemic constitutes a “significant change in
   circumstances” that was not actually foreseen at the time the parties entered into the
   Consent Decree. Id. at 383.

          The parties therefore meet the standard to modify the Consent Decree to permit
   appeal to this Court. In light of the urgency of the matter, the Court orders a two-track
   dispute resolution mechanism. The Parties are to proceed with mediation before Judge
   Ramirez on April 17, 2020, or an earlier date, if possible. (See Opp. at 10). The Court
   simultaneously assumes jurisdiction to enforce the Consent Decree to the extent
   specified in this Order.

           The Court next turns to Defendant’s obligations under the Consent Decree.
   Plaintiff seeks to enforce the Consent Decree’s mandate to “meet the minimum level of
   health care necessary to fulfill Defendant’s obligations under the Eighth and Fourteenth
   Amendments,” (Dkt. 173 ¶ 9), by ensuring that Defendants implement the physical
   distancing recommendations made by the Court’s experts, (see Dkt. 178, Ex. J, Allen
   Expert Report, ¶¶ 9-10, 14-16; Dkt. 178, Ex. K, Gage Expert Report, ¶¶ 5-10.). Plaintiff
   argues that the County has several options available to limit the spread of the disease
   within the jails, including transferring prisoners to new, currently empty, John J. Benoit
   Detention Center (“JJBDC”) in Indio, California; relocating particularly vulnerable
   prisoners; and even release people to allow for physical distancing. (Motion at 4). At
   the hearing, Defendant did not have information regarding conditions in the existing
   county jail facilities, insisted that moving prisoners to a newly completed, empty jail in
   Indio was not feasible, and admitted that it had not researched alternative housing
   options such as recreation centers, halfway houses, and hotels. Rather than having
   created a plan to safeguard those most vulnerable to the COVID-19 virus, Defendant
   conceded that it has not conducted an analysis of its own records to identify particularly
   vulnerable prisoners. It also has not conducted an analysis of its jail population to
   determine whether there are any low-level offenders who might be eligible for early
   release.

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           Despite Defendant’s insistence that conditions in the Riverside County jails are
   compliant with public health recommendations regarding social distancing, its counsel
   lacked information to respond to the Court’s questions regarding the ability to maintain 6
   feet distance between all prisoners in the jail, at all times, its plan for doing so, the size
   of cells and dormitories, and the number of prisoners per room.
           Defendant failed to provide satisfactory information about the feasibility of trans-
   fer of prisoners to other jail or non-jail facilities, including transfers of prisoners currently
   confined in crowded jails to the new, empty, John J. Benoit Detention Center (“JJBDC”)
   in Indio, California. The County states that it is “not-yet-ready to be populated” but pro-
   vides no details as to why. (Opp. at 13). The County stated at the hearing that the facil-
   ity was completed in February 2020, but maintained that it is not yet ready for prisoners.
   In their papers and at the hearing, Defendant argued that “[t]he Sheriff’s Department is
   currently in the midst of a ninety day ‘transition period’ of the facility to determine
   whether any issues arise that will need to be resolved before JJBDC can be populated
   with inmates.” (Dkt. 183-4, “Graves Decl.” ¶ 4). The County states that the technology
   used in the JJBDC facility differs from that of other County facilities, but did not explain,
   in its papers or at the hearing, why this would prevent the transfer of inmates in an
   emergency situation. (Graves Decl. ¶ 5).
          Should the County be unable to implement adequate social distancing within its
   existing jail facilities and take other necessary steps to decrease risk of infection, this
   Court has the authority to order the transfer of prisoners to different facilities. Under
   California law, the Sheriff has the authority to relocate prisoners to respond to
   emergency situations:

          In any case in which an emergency endangering the lives of inmates of a
          state, county, or city penal or correctional institution has occurred or is im-
          minent, the person in charge of the institution may remove the inmates
          from the institution. He shall, if possible, remove them to a safe and con-
          venient place and there confine them as long as may be necessary to
          avoid the danger, or, if that is not possible, may release them.
   Other courts, including the Superior Court for the County of Sacramento County, al-
   ready have ordered the Sheriff to use its authority under Cal. Gov't Code § 8658 to re-
   spond to the coronavirus emergency. See Order Authorizing Sacramento County Sher-
   iff’s Department to Grant Release (Cal. Super. Ct., Sac. Cty., Mar. 25, 2020).

          Defendant argues that the Prison Litigation Reform Act (“PLRA”) precludes this
   Court from ordering the release of prisoners. Even assuming this is true, nothing in the



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   PLRA prohibits a district judge from ordering the transfer of prisoners in response to vio-
   lations of their constitutional rights, as the district court did in Brown v. Plata, 2013 WL
   3200587, No. C01-1351 TEH (N.D. Cal. June 24, 2013), nor would it prohibit the Court
   from ordering the Sheriff to use his authority under § 8658 to transfer prisoners.
          “[A]n order to transfer any single inmate out of a prison to correct the violation of
   a constitutional right” where a “transfer was necessary for the inmate to obtain appropri-
   ate medical care” is not a “prisoner release order,” but rather a transfer. Plata v. Brown,
   2013 WL 3200587 at *8. The same is true of “a policy that would result in transfer of a
   large group of inmates.” Id. Indeed, several potential courses of action qualify as
   “transfer” for the purposes of the PLRA. Relocation to halfway houses, for example, is a
   “transfer” rather than “release.” The PLRA defines a “residential reentry center” as a
   form of “prerelease custody.” See 18 U.S.C. § 3624(g)(2)(B) (“A prisoner placed in pre-
   release custody pursuant to this subsection who is placed at a residential reentry center
   shall be subject to such conditions as the Director of the Bureau of Prisons [(BOP)] de-
   termines appropriate.”). Ninth Circuit case law assumes that a person in a “residential
   reentry center” is a “prisoner” and subject to BOP control. See, e.g., Bottinelli v. Sala-
   zar, 929 F.3d 1196, 1200 (9th Cir. 2019) (citing 18 U.S.C. § 3624(c)(1) as “requiring that
   the BOP, ‘to the extent practicable, ensure that a prisoner serving a term of imprison-
   ment spends a portion of the final months of that term’ in prerelease custody”).

           In Plata v. Brown, the court declined to decide which standard governs the
   court’s review of such requests for transfer, finding that the Plata plaintiffs could satisfy
   the most burdensome standard. That standard “would require [them] to demonstrate
   that the [transfer] policy must be enforced because failure to do so would result in delib-
   erate indifference under the Eighth Amendment.” Id. at *10. The Court makes no deter-
   mination here as to whether Plaintiff has met this standard, but notes that the County’s
   recitation of “aggressive and swift” measures it has taken in response to COVID-19,
   none of which concern jails, suggests that the County’s failure to act to protect inmates
   does indeed constitute deliberate indifference. (Opp. at 16). The County’s assurances
   that it has provided unlimited free soap to prisoners and advised prisoners to remain
   physically distant—without establishing that it is physically possible to do so—is unlikely
   to be sufficient to defeat a claim of deliberate indifference (or sufficient to defeat the re-
   quest to transfer prisoners for health reasons).
          In sum, Defendant has failed to demonstrate that it is currently taking adequate
   precautions to protect the health of the prisoners in the county jails. Plaintiff’s request
   that Defendant be required “to submit a plan to the Court to implement the Governor’s
   order for physical distancing for all Californians housed in the jails” (Motion at 3-4), is
   therefore GRANTED.



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          Plaintiffs are instructed to submit a proposed order detailing the findings and
   outstanding questions from the April 13, 2020 hearing no later than 4:00 p.m. on April
   15, 2020. Prior to submission to the Court, Plaintiff shall share the proposed order with
   Defendant, who may approve the it as to form and content or submit objections to Court
   thereafter.

          IT IS SO ORDERED.




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